Case 1:21-cv-02860-WJM-NRN Document 1 Filed 10/22/21 USDC Colorado Page 1 of 6




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLORADO

                                      CASE NO.: 1:21-cv-02860

   MINDEN PICTURES, INC.,

                  Plaintiff,

   v.

   DENVER CHINESE SOURCE and ADAM
   YOU,

                  Defendants.


                      COMPLAINT FOR COPYRIGHT INFRINGEMENT
                          (INJUNCTIVE RELIEF DEMANDED)

         Plaintiff MINDEN PICTURES, INC. by and through its undersigned counsel, brings this

  Complaint against Defendants DENVER CHINESE SOURCE and ADAM YOU for damages

  and injunctive relief, and in support thereof states as follows:

                                   SUMMARY OF THE ACTION

                 Plaintiff MINDEN PICTURES, INC. (“MPI”) brings this action for violations of

  exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute MPI’s original

  copyrighted Work of authorship.

                 Minden Pictures, Inc. is recognized as the premier provider of rights managed

  wildlife and nature stock photos and feature stories. MPI’s collection covers key aspects of

  natural history, ecology, biodiversity, and endangered species from all continents including many

  remote and isolated regions. MPI also features images of human interaction with the natural

  world highlighting natural science research, conservation, environmental issues, indigenous

  peoples, and eco travel.




                                              SRIPLAW
                         CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:21-cv-02860-WJM-NRN Document 1 Filed 10/22/21 USDC Colorado Page 2 of 6




                  Defendant DENVER CHINESE SOURCE (“DCS”) is a communication platform

  and news source agency. At all times relevant herein, DCS owned and operated the internet

  website located at the URL https://www.denverchinesesource.com (the “Website”).

                  Defendant ADAM YOU (“You”) is the registrant of the Website.

                  Defendants DCS and You are collectively referred to herein as “Defendants.”

                  MPI alleges that Defendants copied MPI’s copyrighted Work from the internet in

  order to advertise, market and promote their business activities. Defendants committed the

  violations alleged in connection with Defendants’ business for purposes of advertising and

  promoting sales to the public in the course and scope of the Defendants’ business.

                                     JURISDICTION AND VENUE

                  This is an action arising under the Copyright Act, 17 U.S.C. § 501.

                  This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

  §§ 1331, 1338(a).

                  Defendants are subject to personal jurisdiction in Colorado.

                  Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

  because the events giving rise to the claims occurred in this district, Defendants engaged in

  infringement in this district, Defendants reside in this district, and Defendants are subject to

  personal jurisdiction in this district.

                                            DEFENDANTS

                  Denver Chinese Source is a Colorado Limited Liability Company, with its

  principal place of business at 5756 South Macon Street, Englewood, Colorado, 80111, and can

  be served by serving its Registered Agent, Be My Guest, LLC, at the same address.

                   Adam You is an individual residing in Arapahoe county, state of Colorado and

  can be served at 5756 South Macon Street, Englewood, Colorado, 80111.
                                                  2
                                              SRIPLAW
                          CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:21-cv-02860-WJM-NRN Document 1 Filed 10/22/21 USDC Colorado Page 3 of 6




                            THE COPYRIGHTED WORK AT ISSUE

                 In 2009, MPI created the photograph entitled “00438916”, which is shown below

  and referred to herein as the “Work”.




                 MPI registered the Work with the Register of Copyrights on February 13, 2017

  and was assigned the registration number VA 2-053-683. The Certificate of Registration is

  attached hereto as Exhibit 1.

                 At all relevant times MPI was the owner of the copyrighted Work at issue in this

  case.


                                                 3
                                             SRIPLAW
                         CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:21-cv-02860-WJM-NRN Document 1 Filed 10/22/21 USDC Colorado Page 4 of 6




                               INFRINGEMENT BY DEFENDANTS

                  Defendants have never been licensed to use the Work at issue in this action for

  any purpose.

                  On a date after the Work at issue in this action was created, but prior to the filing

  of this action, Defendants copied the Work.

                  On or about January 30, 2020, MPI discovered the unauthorized use of its Work

  on the Website.

                  Defendants copied MPI’s copyrighted Work without MPI’s permission.

                  After Defendants copied the Work, they made further copies and distributed the

  Work on the internet to promote the sale of goods and services as part of their news and

  communication network.

                  Defendants copied and distributed MPI’s copyrighted Work in connection with

  Defendants’ business for purposes of advertising and promoting Defendants’ business, and in the

  course and scope of advertising and selling products and services.

                  MPI’s Works are protected by copyright but are not otherwise confidential,

  proprietary, or trade secrets.

                  Defendants committed copyright infringement of the Work as evidenced by the

  documents attached hereto as Exhibit 2.

                  MPI never gave Defendants permission or authority to copy, distribute or display

  the Work at issue in this case.

                  MPI notified Defendants of the allegations set forth herein on August 3, 2020 and

  August 31, 2020. To date, the parties have failed to resolve this matter.




                                                   4
                                               SRIPLAW
                          CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:21-cv-02860-WJM-NRN Document 1 Filed 10/22/21 USDC Colorado Page 5 of 6




                                          COUNT I
                                   COPYRIGHT INFRINGEMENT

                  MPI incorporates the allegations of paragraphs 1 through 25 of this Complaint as

  if fully set forth herein.

                  MPI owns a valid copyright in the Work at issue in this case.

                  MPI registered the Work at issue in this case with the Register of Copyrights

  pursuant to 17 U.S.C. § 411(a).

                  Defendants copied, displayed, and distributed the Work at issue in this case and

  made derivatives of the Work without MPI’s authorization in violation of 17 U.S.C. § 501.

                  Defendants performed the acts alleged in the course and scope of its business

  activities.

                  Defendants’ acts were willful.

                  MPI has been damaged.

                  The harm caused to MPI has been irreparable.

          WHEREFORE, the Plaintiff Minden Pictures, Inc. prays for judgment against the

  Defendants Denver Chinese Source and Adam You that:

                  a.       Defendants and their officers, agents, servants, employees, affiliated

          entities, and all of those in active concert with them, be preliminarily and permanently

          enjoined from committing the acts alleged herein in violation of 17 U.S.C. § 501;

                  b.       Defendants be required to pay Plaintiff its actual damages and Defendants’

          profits attributable to the infringement, or, at Plaintiff's election, statutory damages, as

          provided in 17 U.S.C. § 504;

                  c.       Plaintiff be awarded its attorneys’ fees and costs of suit under the

          applicable statutes sued upon;

                                                    5
                                                SRIPLAW
                           CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:21-cv-02860-WJM-NRN Document 1 Filed 10/22/21 USDC Colorado Page 6 of 6




               d.      Plaintiff be awarded pre and post-judgment interest; and

               e.      Plaintiff be awarded such other and further relief as the Court deems just

        and proper.

                                         JURY DEMAND

        Plaintiff hereby demands a trial by jury of all issues so triable.

  Dated: October 22, 2021                      Respectfully submitted,


                                               /s/ Jonah A. Grossbardt
                                               JOEL B. ROTHMAN
                                               joel.rothman@sriplaw.com

                                               SRIPLAW
                                               21310 Powerline Road
                                               Suite 100
                                               Boca Raton, FL 33433
                                               561.404.4350 – Telephone
                                               561.404.4353 – Facsimile

                                               JONAH A. GROSSBARDT
                                               jonah.grossbardt@sriplaw.com
                                               MATTHEW L. ROLLIN
                                               matthew.rollin@sriplaw.com

                                               SRIPLAW
                                               8730 Wilshire Boulevard
                                               Suite 350
                                               Beverly Hills, CA 90211
                                               323.364.6565 – Telephone
                                               561.404.4353 – Facsimile

                                               and

                                               WILLIAM S. WENZEL
                                               info@redroadlegal.com

                                               RED ROAD LEGAL, PC
                                               7650 East Kenyon Avenue
                                               Denver, CO 80237
                                               888.443.5485 – Telephone

                                               Counsel for Plaintiff Minden Pictures, Inc.
                                                 6
                                             SRIPLAW
                       CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
